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                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                                      MEMORANDUM



 Case No.       CV 15-7210 DSF (SSx)                               Date   2/17/17
 Title     Stephen Yagman v. Joseph Curtis Edmondson, et al.

 Present: The             DALE S. FISCHER, United States District Judge
 Honorable
                 Debra Plato                                Not Present
                 Deputy Clerk                              Court Reporter
      Attorneys Present for Plaintiffs:           Attorneys Present for Defendants:
                  Not Present                                Not Present
 Proceedings:           (In Chambers) Order DENYING Motion for Attorney’s Fees;
                        Order GRANTING Motion to Retax Costs; Order DENYING
                        Motions for Sanctions (Dkt. Nos. 242, 248, 257, 258)1

       Defendant Michael Colello’s motion for attorney’s fees is DENIED. Colello is
entitled to fees under California Code of Civil Procedure § 425.16 relating to the state
law claims disposed of by his anti-SLAPP motion to strike. However, Colello seeks fees
for periods well beyond the granting of the motion to strike. Even for the period before
the motion was granted, the requested fees are not broken out in a manner than would
allow the Court to determine if the fees were incurred for claims that were the subject of
the motion to strike. Defendant also fails to adequately support his counsel’s requested
hourly rate. As for the other stated grounds for fees, this matter is far too attenuated from
the arbitration between the parties for the California Mandatory Fee Arbitration Act to
apply. The MFAA only provides for fees on retrial of an arbitrated matter or where the
award was “confirm[ed], correct[ed], or vacat[ed].” See Cal. Bus. & Prof. Code §§
6203(c), 6204(d). This case, while related to the arbitration, was not a retrial of the
arbitration and the award was not confirmed, corrected, or vacated. Rule 11 sanctions are
inappropriate because Defendant failed to follow the procedural requirements of that
Rule.



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    The Court deems these matters appropriate for decision without oral argument. See Fed. R.
  Civ. P. 78; Local Rule 7-15. The hearings set for February 27 and March 13 are removed from
  the Court’s calendar.
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      Plaintiff’s motion to retax costs is not opposed. The Court deems the lack of
opposition to be consent to the granting of the motion. L.R. 7-12; see also Ghazali v.
Moran, 46 F.3d 52 (9th Cir. 1995); Brydges v. Lewis, 18 F.3d 651, 652 (9th Cir. 1994).
The costs award is vacated, and the Clerk shall retax the costs in this matter after
consideration of Plaintiff’s objections.

       Plaintiff’s motion for sanctions is DENIED. As noted, the motion for fees was not
frivolous because Defendant is, in theory, entitled to fees under § 425.16 even if he has
done an inadequate job of proving the reasonable amount of fees in his motion.

         IT IS SO ORDERED.




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